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                         UNITED STATES DISTRICT COURT

                      WESTERN DISTRICT OF LOUISIANA

                             ALEXANDRIA DIVISION


 UNITED STATES OF AMERICA                    CRIMINAL ACTION
                                             NO. CV06-10030-A

 VERSUS

                                             JUDGE DEE D. DRELL
 KEVIN MORRIS                                MAGISTRATE JUDGE JAMES D. KIRK




                               MEMORANDUM ORDER

       Before the court are two motions to remove a federal detainer

 and to receive credit for federal custody prior to sentencing filed

 by Kevin Morris (“Morris”) on February 26 and 26, 2008 (Docs. 106,

 108). Since Morris is challenging the manner in which his sentence

 is being carried out, these motions fall within the ambit of 28

 U.S.C. § 2241.1

       Morris was convicted in 2007, in the U.S. District Court for

 the Western District of Louisiana, Alexandria Division, on one

 count of conspiracy to defraud the United States and was sentenced

 to   fifteen   months    imprisonment,      to   run   concurrently    with   an

 already-imposed Louisiana state court sentence (Doc. 73).               Morris’

 federal conviction and sentence are currently before the Fifth


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       Morris did not cite which statute he is making his claim
 under. Section 2241 is correctly used to attack the manner in
 which a sentence is executed. Jurisdiction over a Section 2241
 petition lies in the district where the petitioner is
 incarcerated. Lee v. Wetzel, 244 F.3d 370, 372 (5th Cir. 2001).
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 Circuit on appeal (Doc. 78).

       Morris states that he is presently serving both his state and

 federal sentences at the Winn Correctional Center (“WCC”) in

 Winnfield, Louisiana (Doc. 108). Morris asks for injunctive relief

 to have the federal detainer on him removed because it precludes

 his eligibility for a state work release program or for confinement

 in a state half-way house where he can earn money (Doc. 108).

 Morris also asks this court to order the BOP to give him credit on

 his federal sentence for 271 days served prior to trial (Docs. 106,

 108).

       Federal regulations afford federal prisoners administrative

 review of the computation of their sentences, and prisoners may

 seek judicial review of those computations after exhausting their

 administrative remedies.         U.S. v. Wilson, 503 U.S. 329, 335-336,

 112   S.Ct.   1351,   1355   (1992),   and   cases    cited    therein.      The

 administrative remedy procedures which must be followed by a

 federal prison inmate are set forth in 28 C.F.R. §§ 542.10, et seq.

 The   first   step    of   the   administrative    remedy     is   an   informal

 resolution attempt filed with the prison staff.                    28 C.F.R. §

 542.13.    The second step is a formal grievance filed with the

 warden.   28 C.F.R. § 542.14.        The regulations also provide for an

 appeals at the third and fourth steps as set forth below in Section

 542.15; the third step is an appeal of the warden’s decision to the

 Regional Director, and the fourth step is an appeal of the Regional


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 Director’s decision to the General Counsel.

       § 542.15 Appeals.
       (a) Submission. An inmate who is not satisfied with the
       Warden's response may submit an Appeal on the appropriate form
       (BP-10) to the appropriate Regional Director within 20
       calendar days of the date the Warden signed the response. An
       inmate who is not satisfied with the Regional Director's
       response may submit an Appeal on the appropriate form (BP-11)
       to the General Counsel within 30 calendar days of the date the
       Regional Director signed the response. When the inmate
       demonstrates a valid reason for delay, these time limits may
       be extended. Valid reasons for delay include those situations
       described in § 542.14(b) of this part. Appeal to the General
       Counsel is the final administrative appeal.
       (b) Form.
       (1) Appeals to the Regional Director shall be submitted
       on the form designed for regional Appeals (BP-10) and
       accompanied by one complete copy or duplicate original of
       the institution Request and response. Appeals to the
       General Counsel shall be submitted on the form designed
       for Central Office Appeals (BP- 11) and accompanied by
       one complete copy or duplicate original of the
       institution and regional filings and their responses.
       Appeals shall state specifically the reason for appeal.
       (2) An inmate may not raise in an Appeal issues not
       raised in the lower level filings. An inmate may not
       combine Appeals of separate lower level responses
       (different case numbers) into a single Appeal.
       (3) An inmate shall complete the appropriate form with
       all requested identifying information and shall state the
       reasons for the Appeal in the space provided on the form.
       If more space is needed, the inmate may use up to one
       letter-size (8 1/2 " x 11") continuation page. The inmate
       shall provide two additional copies of any continuation
       page and exhibits with the regional Appeal, and three
       additional copies with an Appeal to the Central Office
       (the inmate is also to provide copies of exhibits used at
       the prior level(s) of appeal). The inmate shall date and
       sign the Appeal and mail it to the appropriate Regional
       Director, if a Regional Appeal, or to the National Inmate
       Appeals Administrator, Office of General Counsel, if a
       Central Office Appeal (see 28 CFR part 503 for addresses
       of the Central Office and Regional Offices).

       Morris   has   not    provided   this    court    with   copies    of   his

 administrative responses from the BOP.            Accordingly,

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       IT IS ORDERED that Morris must demonstrate full exhaustion of

 his administrative remedies by providing the court with copies of

 his   appeals   to   and    responses   from     the   warden,     the   Regional

 Director, and the General Counsel within forty-five (45) days from

 the date of this order.

       THUS DONE AND SIGNED in Alexandria, Louisiana, on this 23rd

 day of June, 2008.




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